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             IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                     NORTHERN DIVISION


OSCAR STILLEY                                                    PLAINTIFF

v.                                              CIVIL NO. 3:19cv6‐HTW‐LRA

WARDEN RIVERS, ET AL.                                        DEFENDANTS




                  RESPONSE IN OPPOSITION TO
              MOTION FOR PRELIMINARY INJUNCTION




     Defendants Warden Christopher Rivers, Director J. F. Caraway,

Director J. A. Keller, Federal Bureau of Prisons, The United States of

America, U.S. Attorney General William Barr, former complex warden

David Paul, and Director Kathleen Hawk Sawyer (hereinafter

“Defendants”) respond in opposition to Plaintiff’s Motion for Preliminary

Injunction. See Dkt. No. 30.

                               I. BACKGROUND

     Relevant here, Plaintiff Oscar Stilley (“Stilley” or “Plaintiff”) sued

Defendants for various alleged policy and constitutional violations.
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See Dkt. No. 1. He also sued the government for negligence. See id.

Because Plaintiff never exhausted any of his claims administratively,

Defendants filed motions to dismiss pursuant to Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6). See Dkt. No. 25; 27.

      Plaintiff responded in opposition to Defendants’ motions. See Dkt.

Nos. 31; 32. Contemporaneous with his response, he filed a motion for a

preliminary injunction wherein he asks the Court to order Defendants to

do various things, including let him leave the prison to work on his legal

case(s), provide him access to certain computer systems, and enable certain

word processing functions, such as “cut and paste.” See Dkt. No. 30.

                            II. LEGAL PRINCIPLES

      “A preliminary injunction is an extraordinary and drastic remedy,

not to be granted routinely, but only when the movant, by a clear showing,

carries the burden of persuasion.” White v. Carlucci, 862 F.2d 1209, 1211

(5th Cir. 1989) (citation and quotation marks omitted); Mississippi Power &

Light Co. v. United Gas Pipe Line Co., 760 F.2d 618, 621 (5th Cir. 1985) (“The




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decision to grant a preliminary injunction is to be treated as the exception

rather than the rule.”).

      “[F]our conditions must exist for a district court to issue a

preliminary injunction: (1) a substantial likelihood that plaintiff will

prevail on the merits, (2) a substantial threat that the plaintiff will suffer

irreparable injury if the injunction is not granted; (3) that the threatened

injury to the plaintiff outweighs the threatened harm the injunction may do

to the defendant; and (4) that granting the preliminary injunction will not

dissolve the public interest.” Denning v. Air Logistics LLC, 252 F.3d 436 (5th

Cir. 2001) (citation and quotation marks omitted). “[T]he moving party

must carry the burden of persuasion on each of the elements of the four‐

prong test.” Id. (noting that “the moving party [must] persuade the court

that it meets the threshold on each factor; otherwise, the court may not

issue the injunction”); see also Enter. Int’l, Inc. v. Corporacion Estatal Petrolera

Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985) (“[I]f the movant does not

succeed in carrying its burden on any one of the four prerequisites, a

preliminary injunction may not issue . . . .”).


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      In the prison setting, requests for a preliminary injunctions are

viewed with great caution because judicial restraint is especially called for

in dealing with the complex and intractable problems of prison

administration. See Young v. Wainwright, 449 F.2d 338, 339 (5th Cir. 1971)

(affirming denial of injunction to obtain release from administrative

segregation and cautioning that, “except in extreme circumstances,” the

“federal courts are reluctant to interfere” with matters of prison

administration and management, such as prison discipline and

classification of inmates).

                                III. DISCUSSION

      Plaintiff has not carried his heavy burden to establish any of the four

prerequisites to the issuance of a preliminary injunction.

      Critically, as noted in Defendants’ motions to dismiss, the Court lacks

subject‐matter jurisdiction over Plaintiff’s FTCA claims, and all of his other

claims should be dismissed for failure to state a claim. See Dkt. Nos. 25

thru 28. Thus, it is not likely that Plaintiff will prevail on any of his claims.




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       Moreover, Plaintiff has already responded to Defendants’ motions;

consequently, he cannot show that he will suffer irreparable injury if the

injunction is not granted.1

       Because Plaintiff has not carried his heavy burden to establish all of

the prerequisites to the issuance of a preliminary injunction, his motion

should be denied.

                                    IV. CONCLUSION

       This Court should deny Plaintiff’s Motion for Preliminary Injunction.

                                           Respectfully submitted,

                                           D. MICHAEL HURST, JR.
                                           United States Attorney for the
                                           Southern District of Mississippi

                                             /s/ Jennifer   Case
                                           JENNIFER CASE
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       1Defendants will not address the remaining preliminary‐injunction
prerequisites, as Plaintiff’s deficient showing on the first two prerequisites is fatal to his
motion.

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                           CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing

with the Clerk of the Court using the Electronic Case Filing system (ECF). I

certify that a true copy of the foregoing has been mailed via United States

Mail, postage prepaid, to the pro se plaintiff as follows:

      Pro Se Plaintiff
      Oscar Stilley
      Fed. Reg. No. 10579‐062
      FCC Yazoo City Camp
      P. O. Box 5000
      Yazoo City, MS 39194

Dated: April 6, 2020

                                       /s/ Jennifer   Case
                                     JENNIFER CASE
                                     Assistant United States Attorney




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